           Case: 1:18-cv-07429 Document #: 47 Filed: 05/10/19 Page 1 of 2 PageID #:560

                                                United States District Court
                                                Northern District of Illinois

In the Matter of

 John Doe                                                        Magistrate Judge Young B. Kim
                           v.                                              Case No. 18-CV-7429

 University of Chicago, et al



               TRANSFER OF CASE TO THE EXECUTIVE COMMITTEE FOR A
                         REFERRAL TO MAGISTRATE JUDGE

   The above captioned case is currently pending on my calendar. I recommend to the Executive
Committee that this case be referred to the calendar of Magistrate Judge Young B. Kim, the
magistrate judge designated pursuant to Local Rule 72.1. The reasons for my recommendation
are indicated on the reverse of this form.



                                                           ________________________________
                                                                 Judge Virginia M. Kendall

Date: Friday, May 10, 2019



                                ORDER OF THE EXECUTIVE COMMITTEE

  IT IS HEREBY ORDERED that the above captioned case be referred to the calendar of
Magistrate Judge Young B. Kim


                                                      ENTER

                                      FOR THE EXECUTIVE COMMITTEE




                                                           _____________________________________
                                                               Chief Judge Ruben Castillo
Dated:Friday, May 10, 2019

District Referral - To Designated Magistrate Judge
           Case: 1:18-cv-07429 Document #: 47 Filed: 05/10/19 Page 2 of 2 PageID #:561


CIVIL PROCEDURES

Conduct hearings and enter appropriate orders on the following pretrial motion/matter:


- Settlement Conference




EXCEPTIONS OR ADDITIONS:




District Referral - To Designated Magistrate Judge
